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                   UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA
                  MOTION FOR ADMISSION PRO HAC VICE

Effective October 5, 2015 –In addition to filing this motion in ECF, the proposed admittee
must also apply for “Pro Hac Vice” admission through his or her PACER account if he or
      she has not been previously admitted pro hac vice to the District of Minnesota.

Case Number: 16-cv-2487 (RHK/KMM)

Case Title: In the Matter of the Trusts established under the Pooling and Servicing
            Agreements relating to the Wachovia Bank Commercial Mortgage Trust
            Commercial Mortgage Pass-Through Certificates, Series 2007-C30; COBA

Affidavit of Movant

I, Norman M. Abramson, an active member in good standing of the bar of the U.S.
District Court for the District of Minnesota, request that this Court admit pro hac vice
Michael J. Hampson, an attorney admitted to practice and currently in good standing in
the U.S. District Courts for Southern District of New York, the Eastern District of New
York, and the District of New Jersey, but not admitted to the bar of this court, who will
be counsel for the Beneficiaries / Bond Holders Appaloosa Investment L.P. I and
Palomino Master Ltd. in the case listed above. I am aware that the local rules of this
court require that an active Minnesota resident, unless the court grants a motion for a
non-Minnesota resident to serve as local counsel, who is a member in good standing of
the bar of this court participate in the preparation and presentation of the case listed
above, and accept service of all papers served.

Check one of the following:

 I am a resident of the State of Minnesota, and agree to participate in the preparation
and the presentation of the case above and accept service of all papers served as required
by LR 83.5(d) (sign and complete information below).

 I am not a resident of the State of Minnesota and hereby move for permission to act as
local counsel under LR 83.5(d). I agree to participate in the preparation and the
presentation of the case listed above, and accept service of all papers served as required
by LR 83.5(d) should my motion for a non-resident to serve as local counsel be granted
by the court (sign and complete information below and attach a completed Motion for
Permission for a Non-Resident to Serve as Local Counsel).

         Signature: s/Norman M. Abramson                Date: July 26, 2016
         MN Attorney License #: 241982

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Affidavit of Proposed Admittee

I, Michael J. Hampson, am currently a member in good standing of the U.S. District
Courts for Southern District of New York, the Eastern District of New York and the
District of New Jersey, and the States of New York and New Jersey, but am not admitted
to the bar of this court. I understand that if this Court grants me admission pro hac vice,
the moving attorney identified in this motion must participate in the preparation and
presentation of the case listed above, and must accept service of all papers served as
required by LR 83.5(d). I further understand that the District of Minnesota is an
electronic court and that I consent to service required by Fed. R. Civ. P. 5(b) and 77(d) by
electronic means and I understand that electronic notice will be in lieu of service by mail.

Signature: s/Michael J. Hampson                                Date: July 26, 2016

Typed Name: Michael J. Hampson

Attorney License Number: 4699120                         issued by the State of New York .

Law Firm Name: Lowenstein Sandler LLP

Law Firm Address: 1251 Avenue of the Americas
                  New York, NY 10020

Main phone: (212) 262-6700

E-mail address:      mhampson@lowenstein.com




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